                                                         UNITED STATES BANKRUPTCY COURT
                                                         WESTERN DISTRICT OF WASHINGTON

 In re:                                                                                  Case No. 10-12918-SJS
            Adnan A Kaddah
            Mary K Kaddah                                                                CHAPTER 13 PLAN

                                                                                         FIRST AMENDED

                                                  Debtor(s).                             Date:   September 8, 2010



I.    Introduction:
      A. Debtor is eligible for a discharge under 11 USC § 1328(f) (check one):
        X Yes
           No
      B. Means Test Result. Debtor is (check one):
            a below median income debtor
        X an above median income debtor with positive monthly disposable income
            an above median income debtor with negative monthly disposable income

1I. Plan Payments:
    No later than 30 days after the filing of the plan or the order for relief, whichever date is earlier, the debtor will commence
    making payments to the Trustee as follows:
    A. AMOUNT: $ 150.00
    B. FREQUENCY (check one):
         Monthly
         Twice per month
      X Every two weeks
         Weekly
    C. TAX REFUNDS: Debtor (check one): X COMMITS; DOES NOT COMMIT; all tax refunds to funding the plan.
       Committed refunds shall be paid in addition to the plan payment stated above. If no selection is made, tax refunds are
       committed.
    D. PAYMENTS: Plan payments shall be deducted from the debtor's wages unless otherwise agreed to by the Trustee or ordered
       by the Court.
    E. OTHER:

III. Plan Duration:
     The intended length of the plan is 60 months, and may be extended up to 60 months after the first payment is due if necessary
     for completion. The plan's length shall not be less than the debtor's applicable commitment period as defined under 11 U.S.C. §§
     1322(d) and 1325(b)(4).

IV. Distribution of Plan Payments:
    Upon confirmation, the Trustee shall disburse funds received in the following order and creditors shall apply them accordingly,
    PROVIDED THAT disbursements for domestic support obligations and federal taxes shall be applied according to applicable
    non-bankruptcy law:
    A. ADMINISTRATIVE EXPENSES:
       1. Trustee. The percentage set pursuant to 28 USC §586(e).
       2. Other administrative expenses. As allowed pursuant to 11 USC §§ 507(a)(2) or 707(b).
       3. Attorney's Fees: Pre-confirmation attorney fees and costs shall not exceed $ 3,500.00 . $ 600.00 was paid prior to
       filing. To the extent pre-confirmation fees and costs exceed $3,500, an appropriate application, including a complete
       breakdown of time and costs, shall be filed with the Court within 21 days of confirmation.
       Approved pre-confirmation fees shall be paid as follows (check one):
           a.    Prior to all creditors;
           b.    Monthly payments of $ ;
           c. X All remaining funds available after designated monthly payments to the following creditors: Toyota Motor
           Credit .
           d.    Other:
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                If no selection is made, fees will be paid after monthly payments specified in Paragraphs IV. B and IV. C.

      B. CURRENT DOMESTIC SUPPORT OBLIGATION: Payments to creditors whose claims are filed and allowed pursuant to 11
      USC § 502(a) or court order as follows (if left blank, no payments shall be made by the Trustee):
                       Creditor                                 Monthly amount
                       -NONE-                                   $

      C. SECURED CLAIMS: Payments will be made to creditors whose claims are filed and allowed pursuant to 11 USC § 502(a)
         or court order, as stated below. Unless ranked otherwise, payments to creditors will be disbursed at the same level. Secured
         creditors shall retain their liens until the payment of the underlying debt, determined under nonbankruptcy law, or discharge
         under 11 USC § 1328, as appropriate. Secured creditors, other than creditors holing long term obligations secured only by a
         security interest in real property that is the debtor's principal residence, will be paid the principal amount of their claim or the
         value of their collateral, whichever is less, plus per annum uncompounded interest on that amount from the petition filing
         date.

            Interest rate and monthly payment in the plan control unless a creditor timely files an objection to confirmation. If a creditor
            timely files a proof of claim for an interest rate lower than that proposed in the plan, the claim shall be paid at the lower rate.
            Value of collateral stated in the proof of claim controls unless otherwise ordered following timely objection to claim. The
            unsecured portion of any claim shall be paid as a nonpriority unsecured claim unless entitled to priority by law.

            Only creditors holding allowed secured claims specified below will receive payment from the Trustee. If the interest
            rate is left blank, the applicable interest rate shall be 12%. If overall plan payments are sufficient, the Trustee may increase or
            decrease post-petition installments for ongoing mortgage payments, homeowner's dues and/or real property tax holding
            accounts based on changes in interest rates, escrow amounts, dues and/or property taxes.

            1. Continuing Payments on Claims Secured Only by Security Interest in Debtor's Principal Residence (Interest included in
            payments at contract rate, if applicable):

 Rank            Creditor                                         Nature of Debt                       Property                      Monthly Payment
                 -NONE-                                                                                                              $

            2. Continuing Payments on Claims Secured by Other Real Property (Per annum interest as set forth below):

                                                                                                                                                     Interest
 Rank            Creditor                              Nature of Debt                      Property                        Monthly Payment              Rate
                 -NONE-                                                                                            $

            3. Cure Payments on Mortgage/Deed of Trust/Property Tax Arrearage (If there is a property tax arrearage, also provide for
            postpetition property tax holding account at Section XII):

                         Periodic                                                                                            Arrears to be     Interest
 Rank                    Payment            Creditor                                     Property                                  Cured       Rate
                 $                          -NONE-                                                                     $                                      %

            4. Payments on Claims Secured by Personal Property:

           a.      910 Collateral.
The Trustee shall pay the contract balance as stated in the allowed proof of claim for a purchase-money security interest in any motor
vehicle acquired for the personal use of the debtor(s) within 910 days preceding the filing date of the petition or in other personal
property acquired within one year preceding the filing date of the petition as follows. Debtor stipulates that pre-confirmation adequate
protection payments shall be paid by the Trustee as specified upon the creditor filing a proof of claim. If no amount is specified, the
Trustee shall pay the amount stated as the "Equal Periodic Payment".

                           Equal                                                         Description                 Pre-Confirmation
                         Periodic                                                        of                        Adequate Protection         Interest
 Rank                    Payment            Creditor                                     Collateral                           Payment          Rate
 2               $ 225.00                   Toyota Motor Credit Corp.                    2006 Toyota Tundra pick   $   225.00                  3.9
                                                                                         up                                                                   %



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            b.    Non-910 Collateral.
The Trustee shall pay the value of collateral stated in the proof of claim, unless otherwise ordered following timely objection to the
claim, for a purchase-money security interest in personal property which is non-910 collateral. Debtor stipulates that pre-confirmation
adequate protection payments shall be paid by the Trustee as specified upon the creditor filing a proof of claim. If no amount is
specified, the Trustee shall pay the amount stated as the "Equal Periodic Payment".

                           Equal                                                    Debtor(s)     Description              Pre-Confirmation
                         Periodic                                                    Value of     of                     Adequate Protection     Interest
 Rank                    Payment            Creditor                                Collateral    Collateral                       Payment       Rate
 2               $ 40                       Dell Financial                       $ 200.00         Dell Inspiron          $   40                  4
                                            Services                                              desk top
                                                                                                  computer -
                                                                                                  refurbished                                                   %
 2               $ 30                       Dell Financial                       $ 600.00         Dell laptop            $    30                 4
                                            Services                                              computer -
                                                                                                  refurbished                                                   %

      D. PRIORITY CLAIMS: Payment in full, on a pro rata basis, of filed and allowed claims entitled to priority in the order stated in
      11 USC § 507(a).

      E. NONPRIORITY UNSECURED CLAIMS: From the balance remaining after the above payments, the Trustee shall pay filed
      and allowed nonpriority unsecured claims as follows:

            1. Specially Classified Nonpriority Unsecured Claims. The Trustee shall pay the following claims prior to other nonpriority
               unsecured claims as follows:

 Rank          Creditor                                      Amount of Claim                Percentage to be Paid       Reason for Special Classification
               -NONE-                                        $                                                      %

            2. Other Nonpriority Unsecured Claims (check one):
                a.      100% paid to allowed nonpriority unsecured claims. OR
                b.    X Debtor shall pay at least $ 2,640         to allowed nonpriority unsecured claims over the term of the plan.
                    Debtor estimates that such creditors will receive approximately     % of their allowed claims.

V. Secured Property Surrendered:
   The secured property described below will be surrendered to the following named creditors on confirmation. Upon confirmation,
   all creditors to which the debtor is surrendering property pursuant to this section are granted relief from the automatic stay to
   enforce their security interest against the property including taking possession and sale.

 Creditor                                                                                        Property to be Surrendered
 -NONE-

VI. Executory Contracts and Leases:
    The debtor will assume or reject executory nonresidential contracts or unexpired leases as noted below. Assumption will be by
    separate motion and order, and any cure and/or continuing payments will be paid directly by the debtor under Section VII, unless
    otherwise specified in Section XII with language designating that payments will be made by the Trustee, the amount and
    frequency of the payments, the ranking level for such payments with regard to other creditors, the length of the term for
    continuing payments and the interest rate, if any, for cure payments. Any executory contract or unexpired lease not assumed
    pursuant to 11 USC § 365(d) is rejected. If rejected, the debtor shall surrender any collateral or leased property and any duly filed
    and allowed unsecured claim for damages shall be paid under Section IV.E.2.

 Contract/Lease                                                                                  Assumed or Rejected
 -NONE-

VII. Payments to be made by Debtor and not by the Trustee:
     The following claims shall be paid directly by the debtor according to the terms of the contract or support or withholding order,
     and shall receive no payments from the Trustee. (Payment stated shall not bind any party)

      A. DOMESTIC SUPPORT OBLIGATIONS: The claims of the following creditors owed domestic support obligations shall be
      paid directly by the debtor as follows:

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 Creditor                                                                 Current Monthly Support Obligation             Monthly Arrearage Payment
 -NONE-                                                                   $                                              $

      B. OTHER DIRECT PAYMENTS:

 Creditor                                                 Nature of Debt                               Amount of Claim            Monthly Payment
 GMAC Mortgage (1st)                                      Mortgage                                     $ 162,987.94               $ 1,108.97
 GMAC Mortgage (2nd)                                      Second Mortgage                              $ 168,461.00               $   904.33

VIII. Revestment of Property:
    Unless otherwise provided in Section XII, during the pendency of the plan all property of the estate as defined by 11 USC §
    1306(a) shall remain vested in the debtor, except that earnings and income necessary to complete the terms of the plan shall
    remain vested in the Trustee until discharge. The debtor shall not, without approval of the Court, sell or otherwise dispose of or
    transfer real property other than in accordance with the terms of the confirmed Plan.

IX. Liquidation Analysis Pursuant to 11 USC § 1325(a)(4)
    The liquidation value of the estate is $ 0.00 . In order to obtain a discharge, the debtor must pay the liquidation value or the total
    of allowed priority and nonpriority unsecured claims, whichever is less. Under 11 USC §§ 1325(a)(4) and 726(a)(5), interest on
    allowed unsecured claims under Section IV.D and IV.E shall be paid at the rate of        % per annum from the petition filing date
    (no interest shall be paid if left blank).

X. Other Plan Provisions:
   A. No funds shall be paid to nonpriority unsecured creditors until all secured, administrative and priority unsecured creditors are
   paid in full, provided that no claim shall be paid before it is due.
   B. Secured creditors shall not assess any late charges, provided payments from the plan to the secured creditor are current, subject
   to the creditor’s rights under state law if the case is dismissed.
   C. If a secured creditor elects to charge debtor any fee, expense or cost permitted under the contract, the creditor shall give written
   notice to the debtor and debtor’s counsel within 30 days of the assessment.
   D. Mortgage creditors shall notify the Trustee, debtor and debtor’s counsel within 60 days of any change in the regular monthly
   payment (including the escrow account, if applicable).
   E. Provision by secured creditors or their agents or attorneys of any of the notices, statements or other information provided in
   this section shall not be a violation of the 11 USC § 362 automatic stay or of privacy laws.

XI. Certification:
    A. The debtor certifies that all post-petition Domestic Support Obligations have been paid in full on the date of this plan and will
        be paid in full at the time of the confirmation hearing. Debtor acknowledges that timely payment of such post-petition
        Domestic Support Obligations is a condition of plan confirmation pursuant to 11 USC § 1325(a)(8).
    B. By signing this plan, the debtor and counsel representing the debtor certify that this plan does not alter the provisions of
        Local Bankruptcy Form 13-4, except as provided in Section XII below. Any revisions to the form plan not set forth in
        Section XII shall not be effective.

XII. Additional Case-Specific Provisions: (must be separately numbered)



 /s/ Daniel French Clawson                             /s/ Adnan A Kaddah                            xxx-xx-3099                  September 8, 2010
 Daniel French Clawson                                 Adnan A Kaddah                                Last 4 digits SS#                            Date
 Attorney for Debtor(s)                                DEBTOR

 September 8, 2010                                     /s/ Mary K Kaddah                             xxx-xx-4912                 September 8, 2010
 Date                                                  Mary K Kaddah                                 Last 4 digits SS#                            Date
                                                       DEBTOR




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